           Case 2:17-cr-00244-APG-NJK          Document 50        Filed 03/05/18      Page 1 of 2



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                                   UNITED STATES DISTRICT COURT
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                                           DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                             )
11                                                         )       Case No. 2:17-cr-00244-APG-NJK
                            Plaintiff,                     )
12                                                         )       ORDER
     vs.                                                   )
13                                                         )
     BRIAN SORENSEN,                                       )       (Docket No. 47)
14                                                         )
                            Defendant.                     )
15                                                         )
16           Pending before the Court is Defendant Brian Sorensen’s motion to allow him to open a business.
17   Docket No. 47. Defendant submits that, due to the indictment in the instant case, he was suspended
18   without pay from his job and has been unsuccessful in his attempts to obtain new employment. Id. at
19   2. Defendant further submits that he would like to establish a business, using his CPA license to prepare
20   tax returns for individuals and small businesses. Id. In order to do so, he asks the Court to allow him
21   to “open a business and business account to provide tax preparation services to individuals and small
22   businesses.” Id. In response, the United States submits that it has no opposition to “a temporary and
23   narrow lifting of the pretrial supervision condition that prevents Defendant Sorensen from opening new
24   bank accounts or lines of credit.” Docket No. 49 at 1.
25   ....
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         Case 2:17-cr-00244-APG-NJK             Document 50         Filed 03/05/18      Page 2 of 2



 1          The Court GRANTS Defendant’s motion. Docket No. 47. The Court permits Defendant to open
 2   a business to provide tax preparation services to individuals and small businesses. The Court also
 3   permits Defendant to open a business account for this business, no later than April 4, 2018. Defendant
 4   must provide his Pretrial Services Officer with all information pertinent to this account within three days
 5   of its opening.
 6          IT IS SO ORDERED.
 7          DATED: March 5, 2018.
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 9                                                  ______________________________________
                                                    NANCY J. KOPPE
10                                                  United States Magistrate Judge
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